       Case 13-06908-MM13 Filed 06/08/18                    Entered 06/08/18 16:02:50           Doc 66      Pg. 1 of 1
DAVID L. SKELTON, TRUSTEE #96250
REBECCA E. PENNINGTON #174488
RICHARD L. STEVENSON #239705
OFFICE OF THE CHAPTER 13 TRUSTEE
525 B STREET, SUITE 1430
SAN DIEGO, CA 92101
(619) 338-4006 FAX (619) 239-5242



                                         UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA

   IN RE:                                                         Chapter 13 Case
                                                                  Case No. 13-06908-MM13
         JOSE ALFREDO PERALES
                                                                  NOTICE OF INTENT TO RECONSIDER AND
         1648 CURRY COMB DRIVE                                    REALLOW PROOF OF CLAIM AND
         SAN MARCOS, CA 92069                                     CERTIFICATE OF SERVICE



TO THE CREDITOR NAMED HEREIN:

        YOU ARE HEREBY NOTIFIED of the intent to reallow the claim of the creditor named below to the amount set
forth pursuant to 11 U.S.C. 502(j) and Rule 3008, Rules of Bankruptcy Procedure, upon the grounds that the creditor, his
agents or representatives, or the debtor, has notified the Trustee that there is no balance owing on said claim.

        YOU ARE FURTHER NOTIFIED that if you object to the reallowing of the proof of claim as shown herein, you are
required to obtain a hearing date and time from the Bankruptcy Court Chapter 13 Deputy, Telephone No. (619) 557-7407,
and WITHIN 31 DAYS FROM THE DATE OF SERVICE OF THIS NOTICE serve a copy of a REQUEST AND NOTICE
OF HEARING (FORM CSD 1184) upon the Chapter 13 Trustee, and file the original and one copy with proof of service
with the Clerk, Bankruptcy Court, 325 West F Street, San Diego, California 92101-6991. If such hearing is not timely
requested, the claim shall be allowed in the amount shown herein, subject to provisions of 11 U.S.C. 502(j).

        Name & Address of Creditor:                                 Court Claim No: 006         Ref No: 6

        US BANK TRUST NA                                            Amount Allowed: $16,654.13
        C/O SN SERVICING CORP                                       Principal Paid: $16,654.13
        323 5TH STREET                                              Interest Paid: $0.00
        EUREKA, CA 95501                                            Balance Due: $0.00

        Comment: PAID IN FULL                                       Account No: 4751


                                                                    /s/ David L. Skelton
                                                                    David L. Skelton, Trustee

CERTIFICATION & DATE OF SERVICE: June 8, 2018

I, the undersigned, certify under penalty of perjury that on this date I served a true copy of this document by U.S. Mail,
postage prepaid, upon debtor(s), their attorney, and the creditor named herein at their respective addresses as shown.

    cc: Attorney for Debtor:
        JOHN C COLWELL #118532                                      /s/ Ty Ferguson
        121 BROADWAY STE 533                                        Clerk of the Office of David L. Skelton Trustee
        SAN DIEGO, CA 92101                                         525 B Street, Suite 1430
                                                                    San Diego, CA 92101
